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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                MINUTES OF PROCEEDINGS


OFFICE: TRENTON                                            2/7/2019
JUDGE ANNE E. THOMPSON
NOT ON THE RECORD


TITLE OF CASE:                                                     CV19-4753(AET)

DEFENSE DISTRIBUTED, ET AL.

v.

GURBIR S GREWA



APPEARANCES:
Daniel L. Schmutter, Esq., Charles Flores, Esq., Daniel Hannon, Esq. & Hannah Roblyer, Esq.,
for plaintiffs.
Jeremy Feigenbaum, DAG, Lorraine Rak, DAG, Eric Boden, DAG & Melissa Medoway, DAG,
for defendant.


NATURE OF PROCEEDINGS:
Telephone conference re: Temporary Restraining Order held in chambers.
Parties to propose briefing schedule to the Court.



TIME COMMENCED: 4:30 pm
TIME ADJOURNED: 4:40 pm
TOTAL TIME: 10 minutes

                                                        s/Ann Dello Iacono
                                                          Deputy Clerk
